Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 1 of 15 PageID #: 155




   Dr. Richard Celeste, Expert Report, Police
   Practices and Procedures Analysis Regarding
           Indiana Code § 35-44.1-2-14,
         Nicodemus v. City of South Bend,
           No. 3:23-cv-00744, Dkt. 25-6

                                 Excerpts

                          Defendants’ Exhibit C
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 2 of 15 PageID #: 156
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of Dr.
                                                  25-6 filed      Richard
                                                              09/26/23    Celeste
                                                                        page 4 of 70
                                                                   Page 1 of 22




     POLICE PRACTICES and PROCEDURES ANALYSIS REGARDING

                           [Indiana Code § 35-44.1-2-14]




                                PREPARED FOR:

   THE BOPP LAW FIRM, P.C., LOCATED IN TERRE HAUTE, INDIANA




               EXPERT REPORT OF DR. RICHARD CELESTE

      LAW ENFORCEMENT TRAINING, CRIMINAL JUSTICE, USE OF
          FORCE, POLICE PURSUIT AND POLICE PRACTICES
                      EXPERT/CONSULTANT




                                                                       Defs.' Ex. C
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 3 of 15 PageID #: 157
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of Dr.
                                                  25-6 filed      Richard
                                                              09/26/23    Celeste
                                                                        page 8 of 70
                                                                     Page 5 of 22


  1. Citizen Safety

  It has been my experience, irrespective of whether a citizen is a suspect or an
  arrestee, they still have the right to be free from harm. An officer or officers
  engaged with a private citizen in a law enforcement context, not only has the right
  to be free from harm from the officer, he/she also has a right to be protected from
  harm from others.

  By way of example, if an officer is arresting a subject who committed an act where
  a third party was harmed, the officer is also tasked with the duty to protect that
  arrestee from others who may desire to harm that person as a form of punishment
  or retribution. Indiana Code § 35-44.1-2-14 provides a measure of safety for the
  private citizen by ensuring that person(s) who may desire to harm the arrestee are
  put at a reasonable distance from the arrest.

  It has been my experience that once an officer engages and or takes control or
  custody of a subject, the officer(s), are now duty bound to ensure that subject’s
  safety.

  2. Victim Rights

  Based on my training, education, and experience, our society has evolved
  significantly into one that genuinely cares about victim rights. During my 40 plus
  years in law enforcement and criminal justice, I have observed that change
  whereby there is now a significant focus on victim witness assistance programs
  providing services to victims. A victim is a victim at the very moment that they
  suffer a harm as indicated by the following Indiana statute:

        Indiana Statute § 35-40-4-8 – defines “Victim,” "Victim" means a
        person that has suffered harm as a result of a crime that was
        perpetrated directly against the person. The term does not include a
        person that has been charged with a crime arising out of the same
        occurrence.
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 4 of 15 PageID #: 158
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 11 of 70
                                                                          Page 8 of 22


        until he/she is relieved by a supervisor. [University of California Santa
        Cruz Police Department PD Policy Manual]

      “Crime scenes can present a wide variety of physical, biological, chemical,
       and situational hazards with a level of personal risk of injury, illness, or
       exposure almost always present. Personnel shall not be exposed to an
       unreasonable level of risk to personal safety and shall be provided with the
       equipment and training necessary to mitigate risks.” [Guiding Principles
       for Crime Scene Investigation and Reconstruction Prepared by Crime
       Scene Investigation Subcommittee Version: 1.0 March 2020]

      Crime scene investigators and reconstructionists shall document a crime
       scene in such a way that it preserves the context of the evidence to ensure
       others can later understand not just what was collected, but also where, how,
       and in what condition it was found. [Guiding Principles for Crime Scene
       Investigation and Reconstruction Prepared by Crime Scene
       Investigation Subcommittee Version: 1.0 March 2020]

      Maintaining Evidence Integrity Crime scene investigators and
       reconstructionists shall take appropriate steps to maintain evidence integrity
       by preventing contamination, tampering, alteration, or loss of evidence.
       Procedures and documents shall be utilized to account for the integrity and
       possession of evidence by tracking its handling and storage from its point of
       collection to its final disposition. [Guiding Principles for Crime Scene
       Investigation and Reconstruction Prepared by Crime Scene
       Investigation Subcommittee Version: 1.0 March 2020]

  4. Officer Safety

  Officer safety is a key issue when analyzing the issue of distance away from an
  officer while he is working. I have taken the last 4 years of FBI statistics relative to
  officers killed and assaulted to demonstrate the importance of officer safety.

  2019 FBI Releases 2019 Statistics on Law Enforcement Officers Killed in the
  Line of Duty
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 5 of 15 PageID #: 159
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 12 of 70
                                                                         Page 9 of 22


  According to statistics reported to the FBI, 89 law enforcement officers were killed
  in line-of-duty incidents in 2019. Of these, 48 officers died as a result of felonious
  acts, and 41 officers died in accidents. Comprehensive data tables about these
  incidents and brief narratives describing the fatal attacks are included in Law
  Enforcement Officers Killed and Assaulted, 2019, released today.

  Felonious Deaths

  The 48 felonious deaths occurred in 19 states and in Puerto Rico. The number of
  officers killed as a result of criminal acts in 2019 was 8 less than the 56 officers
  who were feloniously killed in 2018. The 5- and 10-year comparisons show an
  increase of 7 felonious deaths compared with the 2015 figure (41 officers) and a
  decrease of 7 deaths compared with 2010 data (55 officers).

  Circumstances. Of the 48 officers feloniously killed:

       15 died as a result of investigative or law enforcement activities
            6 were conducting traffic violation stops
            4 were performing investigative activities
            2 were drug-related matters
            2 were interacting with wanted persons
            1 was investigating suspicious person or circumstance
       9 were involved in tactical situations
            3 were barricaded/hostage situations
            3 were serving, or attempting to serve, search warrants
            2 were serving, or attempting to serve, arrest warrants
            1 was reported in the category titled “other tactical situation”
       5 were involved in unprovoked attacks
       4 were responding to crimes in progress
            2 were robberies
            1 was larceny-theft
            1 was reported in the category titled “other crime against
               property”
       3 were involved in arrest situations and were attempting to
        restrain/control/handcuff the offender(s) during the arrest situations
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 6 of 15 PageID #: 160
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 13 of 70
                                                                           Page 10 of 22


           3 were assisting other law enforcement officers
                2 with vehicular pursuits
                1 with foot pursuit
           3 were responding to disorders or disturbances
                2 were responding to disturbances (disorderly subjects, fights,
                  etc.)
                1 was responding to a domestic violence call
           3 were involved in vehicular pursuits
           2 were ambushed (entrapment/premeditation)
           1 was serving, or attempting to serve, a court order (eviction notice,
            subpoena, etc.).

  2020 FBI 2020 Data on Law Enforcement Officers Killed & Assaulted [OCT
  21, 2021/HOMELAND SECURITY DIGITAL LIBRARY]

  The Federal Bureau of Investigations’ (FBI) Uniform Crime Reporting
  Program (UCR) recently released 2020 statistics for the Law Enforcement Officers
  Killed and Assaulted (LEOKA) portion of their Law Enforcement Data Explorer.

  Data for 2020 shows a total of 60,105 law enforcement officers assaulted while
  performing their duties; an increase of 4,071 from the 56,034 assaults reported in
  2019.

            Of the 60,105 officers who were assaulted in 2020, 18,568 (30.9%)
             sustained injuries.
            44,421 officers were assaulted with personal weapons (e.g., hands, fists, or
             feet); 25.8% of these officers were injured.
            2,744 officers were assaulted with firearms; 6.1% of these officers were
             injured.
            1,180 officers were assaulted with knives or other cutting instruments; 9.7%
             of these officers were injured.
            The remaining 11,760 officers were assaulted with other types of dangerous
             weapons; 16.8% of these officers were injured.
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 7 of 15 PageID #: 161
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 14 of 70
                                                                     Page 11 of 22


        Statistics released earlier this year reported 93 law enforcement officers
         died in the line of duty in 2020. Of these, 46 officers died as a result of
         felonious acts, and 47 officers died in accidents.
  “Through the Law Enforcement Officers Killed and Assaulted (LEOKA) Data
  Collection, the FBI provides data and training that helps keep law enforcement
  officers safe as they protect the nation’s communities. The goal is to provide
  relevant, high quality, potentially lifesaving information to law enforcement
  agencies focusing on why an incident occurred, as opposed to what occurred
  during the incident, with the hope of preventing future incidents. The data
  collected is analyzed by the LEOKA team and the results are incorporated into the
  officer safety awareness training the FBI provides for partner agencies.”

  2021 [FBI Law Enforcement Bulletin/April 5, 2023/Crime Data/Law
  Enforcement Officers Assaulted in 2021]
  According to statistics released by the FBI’s Law Enforcement Officers Killed and
  Assaulted (LEOKA) program, 43,649 officers were assaulted while performing
  their duties in 2021. The data was collected from 7,886 law enforcement agencies
  employing 354,144 officers.

  Nationwide Estimates
  Estimated trend tables in the release provide year-over-year trends for 2020 to
  2021. They include national and regional estimates of assaults by data elements
  that include weapons, location type, time of day, and type of assignment.

        Assaults on law enforcement officers increased 11.2% from 2020 to
         2021.
        Assaults against officers involving weapons increased 10.5%, from an
         estimated 72,300 incidents in 2020 to an estimated 79,900 incidents in
         2021.
        The estimated number of officers sustaining at least one injury from
         the assaults increased 18.3% from 2020 to 2021.

  Each of these estimated data points were deemed statistically significant based on
  the NIBRS calculation process.
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 8 of 15 PageID #: 162
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 15 of 70
                                                                        Page 12 of 22


  Assaults and Injuries

        Of the 43,649 officers assaulted in 2021, 35.2% (15,369) sustained
         injuries.
        By region, 49.5% (21,609) of the reported assaults occurred in the
         South, 25.8% (11,261) occurred in the West, 17.0% (7,437) took place
         in the Midwest, and 7.7% (3,342) happened in the Northeast.

  Circumstances

        28.6% (12,463) of the reported assaults occurred while officers
         responded to disturbance calls.
        18.4% (8,046) of officers assaulted were attempting “other arrests.”
        13.8% (6,037) of officers were assaulted while handling, transporting,
         or maintaining custody of prisoners.

  Of the officers assaulted in the line of duty:

        74.3% (32,421) were attacked with personal weapons (e.g., hands,
         fists, or feet).
        5.1% (2,247) were assaulted with firearms.
        2.3% (1,000) were attacked with knives or other cutting instruments.
        18.3% (7,981) were assaulted with other dangerous weapons.

  2022 FBI Releases 2022 Statistics on Law Enforcement Officers Killed in the
  Line of Duty/ May 8, 2023
  According to statistics reported to the FBI by March 1, 2023, 118 law enforcement
  officers were killed in line-of-duty incidents in 2022. Of these, 60 officers died as a
  result of felonious acts, and 58 officers died in accidents. Comprehensive data
  tables about these incidents and brief narratives describing the fatal attacks were
  released on May 8 in the Law Enforcement Officers Killed and Assaulted
  (LEOKA) portion of the FBI’s Law Enforcement Data Explorer (a subset of
  the Crime Data Explorer).

  Felonious Deaths
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 9 of 15 PageID #: 163
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 16 of 70
                                                                      Page 13 of 22


  Sixty officers were feloniously killed in 2022, a decrease of 17.8% when compared
  to the 73 officers who were killed as a result of criminal acts in 2021. The 60
  felonious deaths occurred in 28 states and the District of Columbia.

  The five- and 10-year comparisons show an increase of three felonious
  deaths when compared with the 2018 figure (57 officers) and an increase of
  33 deaths when compared with 2013 data (27 officers).

  Circumstances Encountered by Victim Officer Upon Arrival at Scene of
  Incident. Of the 60 officers feloniously killed:

       Six officers were killed in unprovoked attacks.
       12 officers died as a result of investigative/enforcement activities.
       12 officers were ambushed (entrapment/premeditation).
       Four officers encountered/assisted an emotionally disturbed person.
       Four officers were involved in pursuits.
       Six officers responded to disorders/disturbances.
       Six officers were involved in tactical situations.
       One officer was involved in arrest situation.
       Three officers responded to crimes in progress.
       Three officers were assisting other law enforcement officers.
       Two were serving/attempting to serve a court order (eviction notice,
        subpoena, etc.).
       One officer was providing/deploying equipment (flares, traffic cones,
        etc.).

  Continuing with the concern for officer safety as a police issue, I offer the
  following scenario:

  Police officers are engaged with a subject who is on the ground. It may be for the
  purpose of providing medical attention or it may be an arrest situation. A subject is
  25 feet from the scene. The subject wants to harm either the officer or the subject
  on the ground.
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 10 of 15 PageID #: 164
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 17 of 70
                                                                      Page 14 of 22


  The average walking speed of an individual is generally considered to be
  approximately 3 mph as indicated in the following resource:
      “Studies show that the average adult walking speed is a little over 3 miles an
       hour, and 3.13 mph is the standard which most crosswalks, cities, bridges,
       airports, and other pedestrian spaces are designed for. This is also the
       standard for entertainment purposes, like video games and virtual reality,
       because it influences how we process visual and spatial imagery.” [Average
       Walking Speed: How Fast Do You Walk? (endurancely.com)]

  An individual walking at 3 mph will cover 25 feet in 6 seconds. An individual
  walking briskly will generally travel at 3.5 mph will cover 25 feet in 5 seconds.
  These numbers are actually very conservative. The aforementioned article indicates
  that a male age 30-39 will actually travel at 5.49 mph as a maximum walking
  speed which equates to 8.052 feet per second which results in covering 25 feet in
  just over 3 seconds. [Convert 5.49 Miles per Hour to Feet per Second
  (calculateme.com)]


  Naturally, running will further decrease the time needed to cover 25 feet. These
  times are important when considering that if an individual has bad intentions
  he/she will be able to make contact with an officer or the subject on the ground in a
  time between less than 3 seconds and 6 seconds.
  These times are further compressed because of the concept of stimulus-response or
  action-reaction. If an officer is attending to a task, such as rendering medical
  attention or controlling an individual, the officer’s focus will be on the person(s)
  involved in the event and it is reasonable to believe that the officer will not
  recognize an approaching subject immediately which further compresses the
  officer’s response time and places the officer in danger because of the split-second
  scenario.
  Another issue present in current day society are the amount of protests that have
  occurred. Additionally, based on my experience, there appears to be an anti-law
  enforcement animus that has exacerbated the officer safety issue.
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 11 of 15 PageID #: 165
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 18 of 70
                                                                       Page 15 of 22


  The Stimulus-Response is one in which I have trained police officers for over 3
  decades and is described as follows:

  The concept of action/reaction, stimulus/response or the reactionary gap has been
  part and parcel of law enforcement training for many years. Over the past 30 years
  I personally have trained thousands of officers and addressed these concepts over
  and over again. 37 years ago the concept of a reactionary gap was discussed in the
  following cited text:

        “There will be times when you want to widen the gap, especially if
        you know your lag time tends to be slow. Remember that the time
        you need to react will always be longer than the time he needs to
        act. [emphasis added] If he’s holding a knife or other weapon that
        extends his reach, like a club, expand your reactionary gap to 21 feet
        or more. Have your side arm pointed at him while you’re dealing with
        him. Don’t rely only on verbal persuasion against potentially deadly
        weapons. If he has a gun or has one or both of his hands in his
        pockets, get and stay behind cover; distance and dialogue then are
        strictly secondary. Don’t move out until you can clearly see his palms,
        your primary areas of responsibility.” [The Tactical Edge/Surviving
        High Risk Patrol by Charles Remsberg, page 437, 1986]

  Retired FBI agent John Michael Callahan authored a book titled, [“Lethal Force
  and the Objectively Reasonable Officer.”] Agent Callahan devoted an entire
  chapter titled, “Action versus Reaction – The Deadly Reactionary Gap.”

  Former FBI agents Hall and Patrick authored the book titled, “In Defense of Self
  and Others (2005, 2010) in which they state on page 140:

        “The generally accepted rule of thumb is that it takes 0.72- 1.0 seconds
        for an individual to first recognize another’s action, identify the nature
        of the action, then formulate an initiator response (the reaction). This is
        an immutable physiological reality. The response itself will then entail
        additional time, depending on its nature, before any effect can be
        expected. For example, to react by drawing a holstered weapon could
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 12 of 15 PageID #: 166
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 19 of 70
                                                                       Page 16 of 22


        then add 0.5- 1.25 seconds to the interval proceeding firing a shot in
        self-defense.

        Reaction times are increased by a substantial magnitude when the
        individual is under stress, emotional duress (such as fear), were
        operating in new and uncertain circumstances. The increase can
        amount to 50-100% more time than normal, i.e., calm and unstressed
        reaction times. Yet in the space of the first 0.7- 1.0 seconds of an
        event, an unseen weapon can be raised and fired several times. A
        well-trained police officer understands that he cannot wait to see what
        happens. Nor is the officer required to be certain that death or injury is
        imminent. The perception of its imminent likelihood must only be
        reasonable.”

  The following references a journal article titled “Reasonableness and Reaction
  Time.” [J. Pete Blair/Advanced Law Enforcement Rapid Response Training.
  Police Quarterly (December 2011).]

        “The process of perceiving the suspect’s movement, interpreting the
        action, deciding on a response, and executing the response for the
        officer generally took longer than it took the suspect to execute the
        action of shooting, even though the officer already had his gun aimed
        at the suspect. While our sample size is not large, our results are
        consistent with previous research and our general understanding of the
        reaction process (Brebner and Welford, 1980; Grossman and
        Christensen, 2004; Honig and Lewinski, 2008; Luce; 1986;
        Welchman et al., 2010). Completing all of the steps necessary to
        interpret a situation, select, and then execute a response simply tends
        to take longer than it takes to execute an already decided upon action.

  I offer the above references to demonstrate that stimulus-response is a very real
  concept and not an unsupported conclusion on my part. Officers and subjects they
  may be interacting with can have great difficulty maintaining safety if another
  desires to harm them and those subjects are at a close distance.
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 13 of 15 PageID #: 167
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 21 of 70
                                                                      Page 18 of 22


        annual appropriations. Grant funds may only be used for the purchase
        of body cameras and may not be used to purchase video storage
        equipment or services.” [Indiana Department of Homeland
        Security]

  Additionally, it should be noted that law enforcement has strict rules regarding
  who and what can be recorded. This is done for privacy purposes relating to
  victims of crimes, the young age of a person, or medical concerns relating to
  privacy. Citizens would not have these same requirements and citizen rights may
  be impacted without mandating a standard distance.



  7. Elimination of Unclear Police Actions and Officer Subjectivity

  Officers in New Jersey are taught that unless person(s) “interfere,” with an officer,
  officers do not direct them away. There exists no guidance as to how interference
  is defined except with the application of common sense. This results in subjectivity
  being used to develop a calculus of reasonableness by each individual officer.

  Officers are taught that they need to operate on the basis of objective facts yet, in
  States without an objective standard such as the 25 foot rule, a subjective standard
  is implemented.

  Having a standard (25 feet) eliminates defining the term “interferes” with an
  officer as is the case in the State of New Jersey and prevents arbitrary enforcement
  of the law.

  8. Contemporary Tactics
  Based on my Law enforcement experience and training officers for over three
  decades, it is noteworthy that, depending on the event, police shut down entire
  roadways, blocks of streets and whole areas in an effort to protect the community
  (fires, armed subjects, barricaded subjects, shootings, toxic leaks etc.) There is no
  public outcry when law enforcement selects, to the best of their ability, what is a
  safe distance and this will continue to be a tactic or strategy for the benefit of
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 14 of 15 PageID #: 168
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 22 of 70
                                                                       Page 19 of 22


  citizens irrespective of the 25 foot rule. The police officer’s job is to “protect” and
  serve.


  9. Support for the current distance
  I am uncertain as to how the 25 foot distance was determined because I do not
  have any documents which address the distance selected. To that end, based on the
  concern of how quickly a person can get upon a subject, to include a victim, police
  officer, suspect, arrestee, or one in need of medical attention, I believe the distance
  is actually very reasonable.
  Based on my experience, I would push the distance out further when considering
  the concept of action-reaction previously discussed in this report. That being said,
  as an example of a known reference, the width of a lane of travel on a freeway is
  12 feet. [U.S, Department of Transportation/Federal Highway Administration]
  In my opinion, based on my experience, requiring a subject stand 2 lanes of travel
  away from a police event is not unreasonable when taking into consideration other
  material addressed in this report.


  10. Harmed Parties
  With consideration to parties that are harmed, my experience has been that weight
  is given to any person(s) who desires to challenge the law and any party that may
  be potentially harmed (to include a victim, police officer, suspect, arrestee or one
  in need of medical attention). I am of the opinion that the potential harm to the
  later outweighs any desire to be closer to a police event for the purpose of
  observing, video-taping, recording, or livestreaming the event.
  If the argument is that a subject’s livelihood is compromised because of the 25 foot
  rule, I believe they could obtain what they desire by other means, such as a legal
  remedy to obtain body-camera footage or using higher quality equipment which
  are both common sense solutions when weighing the rights of others that I have
  identified (victim, police officer, suspect, arrestee or one in need of medical
  attention).
Case 1:23-cv-01805-JRS-MG Document 26-4 Filed 12/01/23 Page 15 of 15 PageID #: 169
                                  Exhibitdocument
USDC IN/ND case 3:23-cv-00744-DRL-MGG     A to Declaration of09/26/23
                                                  25-6 filed Dr. Richard Celeste
                                                                      page 23 of 70
                                                                       Page 20 of 22


  VI. Summary/Conclusion
  Opinions contained in this report are based on my review of those listed items as
  well as my 45 years of education, knowledge, experience and training in the field
  of law enforcement and criminal justice and are rendered to a reasonable degree of
  professional certainty based on the practices and procedures utilized in the law
  enforcement community. It is noted that opinions expressed in this report regarding
  this matter are included throughout this report and are not confined to the
  conclusion section of this report.

  I respond in the following manner regarding my experience in law enforcement
  which includes crime scene management and significant experience in managing
  motor vehicle accidents:

      The distance of 25 feet does not stop any person from “observing and
       recording” the police but rather mandates a distance from where that
       citizen can accomplish that desire.
      The standard does not set forth an absolute prohibition to remain at a
       distance of 25 feet but consists of 2 distinct elements to include that the
       law enforcement officer be lawfully engaged in the execution of the
       law enforcement officer’s duties [emphasis added] and the officer
       orders the person [emphasis added] to remain at a distance of 25 feet.
      The 25 foot standard is not designed to target a specific individual or
       individuals but rather, all citizens. The scope of my analysis is to
       address the requirements based on my training, education, and
       experience.
      It is reasonable to believe that absent a standard (25 feet rule) that there
       would be a greater chance of officers using unbridled discretion. For
       example, a citizen may engage in live streaming which further
       supports my concern for citizens capturing video and audio of a
       victim of a crime or a medical event. This is actual unbridled
       discretion. The image of an injured child or person in the throes of a
       medical event is unconscionable.
      Any inference that police officer accountability cannot be
       accomplished at 25 feet of visual observation is a vacuous assertion.
